           Case 1:22-cv-01466-MN Document 3 Filed 11/07/22 Page 1 of 1 PageID #: 2671
AO 120 (Rev. 08/10)

                            Mail Stop 8                                                     REPORT ON THE
TO:
         Director of the U.S. Patent and Trademark Office                           FILING OR DETERMINATION OF AN
                           P.O. Box 1450                                            ACTION REGARDING A PATENT OR
                    Alexandria, VA 22313-1450                                                 TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court                          District of Delawre                                 on the following
      G Trademarks or         G
                              ✔ Patents.    ( G the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                        DATE FILED                      U.S. DISTRICT COURT
                                           11/7/2022                                            District of Delawre
PLAINTIFF                                                                 DEFENDANT
 AUTONOMOUS DEVICES LLC                                                     TESLA, INC.



        PATENT OR                      DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 US 10,452,974 B1                         10/22/2019               AUTONOMOUS DEVICES LLC

2 US 11,238,344 B1                          2/1/2022                AUTONOMOUS DEVICES LLC

3 US 11,055,583 B1                          7/6/2021                AUTONOMOUS DEVICES LLC

4 US 10,102,449 B1                         10/16/2018               AUTONOMOUS DEVICES LLC

5 US 10,607,134 B1                         3/31/2020                AUTONOMOUS DEVICES LLC


                                In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                       G Amendment            G Answer           G Cross Bill       G Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1

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3

4

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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT




CLERK                                                      (BY) DEPUTY CLERK                                            DATE



Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy


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